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                    EXHIBIT A
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 7

 8
                                SUPERIOR COURT OF CALIFORNIA
 9
                                  COUNTY OF SAN BERNARDINO
10
     WILLIAM BRUZZO, an Individual;                     UNLIMITED
11
         Plaintiff,                                     Case No.: UNASSIGNED
12

13                           v.
                                                        COMPLAINT FOR DAMAGES
14   TOUGH MUDDER INCORPORATED, a
     Delaware Corporation; TOUGH MUDDER                 1. NEGLIGENCE
15   EVENT PRODUCTION,                                  2. GROSS NEGLIGENCE
     INCORPORATED, a Delaware
     Corporation; GLEN HELEN RACING,                    3. NEGLIGENT HIRING, RETENTION
16                                                         AND SUPERVISION
     INC., a California Corporation; and DOES
     1- 40, Inclusive,                                  4. NEGLIGENT INFLICTION OF
17
                                                           EMOTIONAL DISTRESS
18      Defendants.
                                                        DEMAND FOR JURY TRIAL
19

20
                                               THE PARTIES
21
            COMES NOW plaintiff WILLIAM BRUZZO and for a cause of action against
22   defendants, and each of them, alleges:
23          1.        That the true names, identities, or capacities, whether individual, corporate,

24   associate, or otherwise of defendants DOES 1 through 40, inclusive, are unknown to plaintiff at
     this time, and plaintiff therefore sues said defendants by such fictitious names. When the true
25
     names, identities, capacities, or participation of such fictitiously designated defendants are
26
     ascertained, plaintiffs will ask leave of court to amend his Complaint to insert said names,
27
     identities, capacities, together with the proper charging allegations.
28
     COMPLAINT FOR DAMAGES                                                                PAGE 1 OF 13
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            2.      Plaintiff is informed and believes and thereon alleges that each of the defendants
 1
     sued herein as DOE is responsible in some manner for the events and happenings herein referred
 2
     to, thereby proximately causing the damages to the plaintiff hereinafter set forth.
 3          3.      At all times mentioned herein, each of the defendants sued herein was the agent,
 4   servant, and employee of each other and of his/her said co-defendants, and as such, was acting
 5   within the time, place, purpose, and scope of said agency, service and employment; that each and

 6   every defendant, as aforesaid, when acting as a principal, was negligent in the selection and
     hiring of each and every other defendant as an agent, servant, and employee, and were in some
 7
     way negligently or otherwise, responsible for the events herein alleged.
 8
            4.      Plaintiff is informed and believes, and based upon such information and belief,
 9   thereon alleges that at all material times, Defendant TOUGH MUDDER, INCORPORATED, has
10   been a corporation, incorporated under the laws of the State of Delaware and duly authorized to
11   conduct business, and doing business in the State of California.

12          5.      Plaintiff is informed and believes, and based upon such information and belief,
     thereon alleges that at all material times, Defendant TOUGH MUDDER EVENT
13
     PRODUCTION, INCORPORATED, has been a corporation, incorporated under the laws of the
14
     State of Delaware and duly authorized to conduct business in the State of California, and doing
15
     business in the State of California. Both TOUGH MUDDER, INCORPORATED and TOUGH
16   MUDDER EVENT PRODUCTION, INCORPORATED, will hereinafter be referred to as
17   TOUGH MUDDER defendants.

18          6.      Plaintiff is informed and believes, and based upon such information and belief,
     thereon alleges that at all material times, Defendant GLEN HELEN RACING, INC., has been a
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     corporation, incorporated under the laws of the State of California and duly authorized to
20
     conduct business in the State of California, and doing business in the State of California.
21
            7.      Plaintiff WILLIAM BRUZZO (“Plaintiff”) is an individual residing in the County
22   of Orange, in the State of California.
23
                                      GENERAL ALLEGATIONS
24
            8.      Personal jurisdiction is proper because the events that injured Plaintiff occurred at
25
     the Glen Helen Raceway, owned and managed by GLEN HELEN RACING, INC., in the County
26
     of San Bernardino, California.
27
            9.      Plaintiff is informed and believes, and based upon such information and belief,
28
     COMPLAINT FOR DAMAGES                                                                 PAGE 2 OF 13
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 1   thereon alleges that at all material times, Glen Helen Raceway has been a park that is owned by,

 2   and under the control of, GLEN HELEN RACEWAY, INC., and DOES 1-40, which rents it out

 3   for profit, including special race events held open to the general public.

 4          10.      Plaintiff is informed and believes, and based upon such information and belief,

 5   thereon alleges that at all material times, defendants TOUGH MUDDER, and DOES 1-40, and

 6   each of them, are companies that collaborated to own, lease, conceive of, design, maintain,

 7   organize, implement, promote and operate races held open to the general public.

 8          11.      Plaintiff is informed and believes, and based upon such information and belief,

 9   thereon alleges that Defendants TOUGH MUDDER, and DOES 1- 40 leased and / or rented

10   Glen Helen Raceway from GLEN HELEN RACING, INC. to be used for a TOUGH MUDDER

11   race which took place on April 6 and 7, 2019, [The Race], with the full knowledge and

12   cooperation of GLEN HELEN RACING, INC.

13          12.      Plaintiff is informed and believes, and based upon such information and belief,

14   thereon alleges that defendants TOUGH MUDDER, GLEN HELEN RACING, INC. and DOES

15   1-40, and each of them, collaborated to implement a system of implementation of safety and

16   security for participants of The Race.

17          13.      Plaintiff is informed and believes, and based upon such information and belief,

18   thereon alleges that at all material times, Defendants TOUGH MUDDER, GLEN HELEN

19   RACING, INC. and DOES 1 – 40 designed, constructed, marketed and operated The Race and

20   the obstacles therein including machinery to deliver a low voltage harmless electric shock to

21   participants.

22          14.      On or about April 7, 2019, Plaintiff participated in the TOUGH MUDDER Race

23   in Glen Helen Raceway (“The Race”), at Glen Helen Ranch Road, 18585 Verdemont Ranch

24   Road, located in the City of San Bernardino, County of San Bernardino, State of California. The

25   Race consisted of a race through mud, water, and through numerous obstacles, including low

26   voltage harmless electric shocks, which were conceived and designed and managed by TOUGH

27   MUDDER defendants and DOES 1-40.

28          15.      Prior to The Race, Defendants TOUGH MUDDER, GLEN HELEN RACEWAY,
     COMPLAINT FOR DAMAGES                                                             PAGE 3 OF 13
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 1   INC. and DOES 1 – 40 should have identified and/or actually did identify that TOUGH

 2   MUDDER participants running through electrical wires with apparently unreliable voltage, is

 3   inherently dangerous, as posing a substantial risk of harm to TOUGH MUDDER participants,

 4   beyond the risk of harm inherent in the TOUGH MUDDER race which is marketed with

 5   seemingly benign low voltage electric shock.

 6          16.     Plaintiff is informed and believes, and based upon such information and belief,

 7   thereon alleges that admission to The Race was open to the public and advertised to the general

 8   public. On its website for the Glen Helen Raceway event, TOUGH MUDDER declares that

 9   participants that its event will be a “party” including “after party” “red carpet bash” with “free

10   beer” in its promotional materials: “We’re bringing the party, and the after party to La La Land

11   in 2019. Tough Mudder 5K Los Angeles is popping off just an hour outside the city at Glen

12   Helen Raceway. All the scenic vista and rolling hills on this epic course prove that the left coast

13   is the best coast. No headshot, no auditions, just a muddy, obstacle packed red carpet base for

14   you and your crew to crush. This ain’t your grand-daddy’s fun run. Tough Mudder 5K Los

15   Angeles is a 3 miles of best – in – class obstacles designed and selected by our crew of genius

16   engineers for max levels of fun and intense teamwork. None does it better than our most iconic

17   obstacle, Everest 2.0, a 13’ quarter pipe with a curved top that requires real teamwork to

18   conquer. Bust through the finish line and keep the party going. Grab a frosty cold beer, listen to

19   music, hang with your new best friends from the course, and soak in that first taste of Tough

20   Mudder.”

21          17.      Plaintiff is informed and believes, and based upon such information and belief,

22   thereon alleges that Defendants TOUGH MUDDER and DOES 1 – 40 were aware of accidents

23   happening around the country in races such as the TOUGH MUDDER Race in the past several

24   years preceding The Race. TOUGH MUDDER proceeded to continue to market the race with the

25   emphasis on it being a party event with an after party, beer and promise of new friends, while

26   minimizing the potential harm involved.

27          18.     On April 7, 2019, Plaintiff arrived at the starting corrals for The Race at Glen

28   Helen Raceway with his friends, ready to experience the promised comradery of a monitored
     COMPLAINT FOR DAMAGES                                                               PAGE 4 OF 13
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 1   athletic experience. The Race organizers, who upon information and belief, were employed by

 2   Defendants TOUGH MUDDER and DOES 1 – 40, prepared the racers to begin but at no point

 3   did The Race staff inform plaintiff that the electrical low voltage would malfunction and / or

 4   knock him out completely.

 5            19.     Approximately at the last obstacle of The Race, Plaintiff approached the obstacle

 6   (“The Obstacle”) which is a sand pit to climb through, with a bale of hay as an obstacle and some

 7   low voltage electrified wires hanging down a few feet above the ground, for participants to climb

 8   under.

 9            20.     The only warning participants received on race day regarding the low voltage

10   electrical shocks which were inherent in The Obstacle was a small sign close to The Obstacle.

11   This sign did not mention about the risk that the electrical voltage could malfunction and

12   electrocute plaintiff to the point he became unconscious.

13            21.     Plaintiff is informed and believes, and based upon such information and belief,

14   thereon alleges that it is common practice in the racing industry to monitor Obstacles which pose

15   any extreme danger which the participant may not be aware of, and ensure that any race obstacle

16   operates within the confines of expectation and does not malfunction. A prime example of this is

17   a low voltage electrical shock devise that produces a high voltage current which can shock a

18   person unconscious.

19            22.     Plaintiff is informed and believes, and based upon such information and belief,

20   thereon alleges that it is common practice in the racing industry to not only monitor, but also to

21   place explicit warnings before or over Obstacles, informing participants of the risk of extreme

22   danger, in the event that the Obstacle does not operate as advertised and becomes dangerous to

23   enter into. A prime example of this is a low voltage electrical shock devise that produces a high

24   voltage current which can shock a person unconscious.

25            23.     Before Plaintiff reached The Obstacle, there was no sign of race staff members

26   monitoring voltage levels and / or warning of any unreasonable danger posed by The Obstacle or

27   discouraging participants from running into The Obstacle. Participants were encouraged to enter

28   The Obstacle. An employee MC, made light of The Obstacle, treating it as a big joke and
     COMPLAINT FOR DAMAGES                                                             PAGE 5 OF 13
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 1   encouraging participation.

 2          24.     After entering into The Obstacle, Plaintiff was in between two wires, which

 3   electrocuted him so severely, he fell to the ground and lost consciousness.

 4          25.     When Plaintiff regained consciousness, he could not initially get back up. During

 5   the period of time that he was unconscious and the period of time he struggled to get out of The

 6   Obstacle, no staff members of The Race came to his assistance.

 7          26.     Upon regaining consciousness, Plaintiff crawled out of The Obstacle and despite

 8   staff members of The Race stationed adjacent to The Obstacle, none of said staff members

 9   acknowledged Plaintiff lying down unconscious in the sand not tried to help him out of The

10   Obstacle.

11          27.     Plaintiff is informed and believes, and based upon such information and belief,

12   thereon alleges that Defendants TOUGH MUDDER, GLEN HELEN RACEWAY, INC. and

13   DOES 1 – 40 negligently conceived of, marketed, monitored, maintained and implemented, and

14   failed to limit the voltage of the low voltage electric voltages which rendered plaintiff

15   unconscious and failed to implement and/or enforce safety monitoring and safety measures

16   commonly used in similar races to prevent the exact type of injury suffered by Plaintiff.

17                                     FIRST CAUSE OF ACTION

18                                            NEGLIGENCE

19                           (Against ALL DEFENDANTS and DOES 1 – 40)

20          28.    Plaintiff repeats and incorporates by reference into this cause of action the

21   allegations set forth above at Paragraphs l – 27, inclusive.

22          29.     At all times relevant to the Complaint, defendants, and each of them, owed a

23   duty to Plaintiff, as a participant in The Race, to make the course reasonably safe, to design,

24   construct, promote, organize and operate The Race and the activities involved with The Race

25   with reasonable care, to warn of any dangers posed by the course which had not been

26   specifically explained to plaintiff, such as high voltage eclectic shocks, to prohibit any activity

27   that would pose an unknown danger to Plaintiff as a participant in The Race, to monitor low

28   voltage electric shocks so they did not injure a race participant and to have knowledgeable
     COMPLAINT FOR DAMAGES                                                               PAGE 6 OF 13
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 1   employees standing by to assist race participants in case of unexpected injury.

 2           30.     Defendants, and each of them, fell below that standard by, among other things,

 3   failing to properly conceive of, monitor, maintain and implement and limit, the low voltage

 4   electric voltages which rendered plaintiff unconscious, give verbal warnings at any time prior to

 5   or during The Race due to the severity of the electroshock. Defendants, and each of them failed

 6   to post adequate warning signs throughout The Race course regarding the intensity of The

 7   Obstacle and the electrified wires and failed to assist Plaintiff out of The Obstacle after Plaintiff

 8   was injured and failed to render aid to Plaintiff after he was electrocuted. Defendants, and each

 9   of them, designed The Obstacle in such a way that participants of The Race could not determine

10   the intensity of the electrocution wires within The Obstacle or see the danger posed by The

11   Obstacle, supporting a culture where faster and more dangerous is better than safe. Defendants

12   and each of them promoted The Race with promises of a red carpet party and free beer, while

13   minimizing safety issues and failing to implement and/or enforce safety measures commonly

14   used in similar races to prevent the exact type of injury suffered by Plaintiff, and otherwise

15   failing to exercise due care with respect to the matters herein alleged.

16           31.     Defendants, and each of them, were both the actual and legal cause of Plaintiff’s

17   injuries because had they taken reasonable steps to make the TOUGH MUDDER Race safe,

18   monitor the level of electrical current, fully warn Plaintiff of potential dangers posed by its

19   unsafe electrical voltage obstacle, Plaintiff would not have been injured. This lack of warning

20   and Defendants, and each of them failure to take reasonable steps to make the Tough Mudder

21   Race safe and assist plaintiff after he was electrocuted, were the substantial factors in causing

22   Plaintiff’s injury.

23           32.    As a direct and proximate result of the negligence, carelessness, and unlawfulness

24   of Defendants, and each of their actions and inactions, as herein alleged, Plaintiff was injured in

25   health, strength, and activity, and sustained severe injuries to his body both internally and

26   externally, all of which injuries have caused and continue to cause Plaintiff great mental

27   anguish, physical pain, nervous pain, and suffering.

28           33. As a further proximate result of the negligence, carelessness, and unlawfulness of
     COMPLAINT FOR DAMAGES                                                                PAGE 7 OF 13
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 1   Defendants, and each of them actions and inactions, as herein alleged, Plaintiff was required,

 2   and is informed and believes and based upon such information and belief thereon alleges, that

 3   Plaintiff will require, to engage the services of doctors, surgeons, physicians, nurses, hospitals,

 4   and like-related professional services, including drugs, medicines, x-rays and medical expenses,

 5   and has incurred and will continue to incur lost earnings and lost earning capacity, all to his

 6   general and special damages in a sum according to proof at the time of trial, and that Plaintiff

 7   has incurred incidental and extreme financial damages.

 8                                     SECOND CAUSE OF ACTION

 9                                         GROSS NEGLIGENCE

10                            (Against ALL DEFENDANTS and DOES 1 – 40)

11           34.     Plaintiff repeats and incorporates by reference into this cause of action the

12   allegations set forth above at Paragraphs l – 33, inclusive.

13           35.     At all times relevant to the Complaint, Defendants, and each of them, owed a

14   duty to Plaintiff, as a participant in The Race, to make the course reasonably safe, to design,

15   construct, promote, organize and operate The Race and the activities involved with The Race

16   with reasonable care, to warn of any dangers posed by the course, and to prohibit any activity

17   that would pose a danger to Plaintiff as a participant in The Race.

18           36.     Defendants, and each of them, were aware of the potential serious injury to

19   participants, if the electrical wires located within The Obstacle were not monitored and the level

20   of electricity carefully accessed. Defendants consciously disregarded taking action to address

21   this known safety risk and adequately monitor a devise that could, and did, lead to catastrophic

22   injury and could have led to possible death. Defendants, and each of them, did this while

23   advertising its event as a fun party with free beer and disregard for the serious nature of the

24   activity it was selling for profit.

25           37.     Defendants fell below that standard by, among other things: failing to properly

26   conceive of, monitor, maintain and implement, and limit the voltage of the low voltage electric

27   voltages which rendered plaintiff unconscious; failing to give verbal warnings at any time prior

28   to or during The Race regarding the electric shock therapy severity within The Obstacle; failing
     COMPLAINT FOR DAMAGES                                                               PAGE 8 OF 13
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 1   to put in place written warnings, rules or guidelines in regard to the electric shock therapy

 2   severity within The Obstacle; failing to assist Plaintiff out of The Obstacle after Plaintiff was

 3   injured; and failing to render aid to Plaintiff in an adequate and timely manner after he was

 4   unconscious. Defendants, and each of them, designed and constructed The Obstacle in such a

 5   way that participants of The Race were focused on having a “party” with free beer while

 6   minimizing the risk of catastrophic injury and possible death. Participants could not determine

 7   the currency of the electric wires or see the danger posed by The Obstacle as part of a culture

 8   where faster and more dangerous is better than safer, if it means more profits. Defendants, and

 9   each of them, failed to implement and/or enforce safety measures commonly used in similar

10   races to prevent the exact type of injury suffered by Plaintiff, and otherwise failing to exercise

11   due care with respect to the matters herein alleged.

12           38.      Defendants, and each of them, conduct and inaction constituted a want of even

13   scant care and an extreme departure from the ordinary standard of conduct. Such outrageous

14   lack of care represents an extreme departure from the ordinary standard of conduct in the

15   context of this situation.

16           39.      Defendants, and each of them, are both the actual and legal cause of Plaintiff’s

17   injuries, because had they taken reasonable steps to make The Race safe with its electric shock

18   component of The Obstacle, and also warned Plaintiff of the real and elevated potential dangers

19   posed by its obstacles, and had staff stationed to immediately assist Plaintiff once he was

20   unconscious, Plaintiff would not have been injured. In addition, the lack of warning and

21   defendants’ failure to take reasonable steps to make The Race and The Obstacle safe were the

22   substantial factors in causing Plaintiff’s injury.

23           40.      As a direct and proximate result of the gross negligence, extreme carelessness

24   and unlawfulness of Defendants, and each of them, actions and inactions, as herein alleged,

25   Plaintiff was injured in health, strength, and activity, and sustained severe injuries to his body

26   both internally and externally, all of which injuries have caused and continue to cause Plaintiff

27   great mental anguish, physical pain, nervous pain, and suffering.

28           41.      As a further proximate result of the gross negligence, extreme carelessness and
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 1   unlawfulness of Defendants, and each of them, actions and inactions, as herein alleged, Plaintiff

 2   was required, and is informed and believes and and based upon such information and belief

 3   thereon alleges, that Plaintiff will require, to engage the services of doctors, surgeons,

 4   physicians, nurses, hospitals, and like-related professional services, including drugs, medicines,

 5   x-rays and medical expenses, and has incurred and will continue to incur lost earnings and lost

 6   earning capacity, all to his general and special damages in a sum according to proof at the time

 7   of trial, and that Plaintiff has incurred incidental and extreme financial damages.

 8                                    THIRD CAUSE OF ACTION

 9                   NEGLIGENT HIRING, RETENTION AND SUPERVISION

10                                (Against all defendants and DOES 1-40)

11          42.      Plaintiff repeats and incorporates by reference into this cause of action the

12   allegations set forth above at Paragraphs 1 – 41, inclusive.

13          43.      At all times relevant to the Complaint, Defendants, and each of them, were the

14   owners, leasers, renters, and operators of Glen Helen Raceway and consequently had the duties

15   to operate the park and The Race in a manner that would protect participants of The Race from

16   foreseeable risks along with the duty to ensure that any of the staff for The Race entrusted with

17   the responsibility of protecting participants of The Race. This duty included, but was not limited

18   to, employing adequate technicians to properly set up and monitor electric shock voltage in The

19   Obstacle, to employ adequate and competent security and first aid staff, and to perform these

20   responsibilities with the utmost care and satisfactorily protect participants of The Race from

21   foreseeable risks.

22          44.      At all times relevant to the Complaint, Defendants, and each of them, employed

23   persons to assist with The Race, including but not limited to electrical technicians, security and

24   first aid staff, who had the duties to operate the park and The Race in a manner that would

25   protect participants of The Race from foreseeable risks.

26          45.      Plaintiff is informed and believes, and based upon such information and belief,

27   thereon alleges that, Defendants, and each of them, were aware of the potential serious injury

28   that crawling through The Obstacle could cause to participants of The Race and had notice that
     COMPLAINT FOR DAMAGES                                                              PAGE 10 OF 13
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 1   The Race was improperly set up, maintained and staffed, yet Defendants, and each of them,

 2   failed to take action to address these known safety risk.

 3          46.      Despite Defendants, and each of them, knowledge of the risks posed to

 4   participants of The Race as herein alleged, Defendants, and each of them, failed to properly

 5   supervise the individuals they hired to staff The Race.

 6          47.      By utilizing persons who Defendants, and each of them, knew to be unfit to act

 7   as staff for The Race and by failing to properly supervise them, Defendants, and each of them,

 8   breached their duties owed to Plaintiff.

 9          48.      As a direct and proximate result of Defendants, and each of them, actions and

10   inactions, as herein alleged, Plaintiff was injured in health, strength, and activity, and sustained

11   severe injuries to his body both internally and externally, all of which injuries have caused and

12   continue to cause Plaintiff great mental anguish, physical pain, nervous pain, and suffering.

13          49.      As a further proximate result of Defendants, and each of them, actions and

14   inactions, as herein alleged, Plaintiff was required, and is informed and believes and and based

15   upon such information and belief thereon alleges, that Plaintiff will require, to engage the

16   services of doctors, surgeons, physicians, nurses, hospitals, and like-related professional

17   services, including drugs, medicines, x-rays and medical expenses, and has incurred and will

18   continue to incur lost earnings and lost earning capacity, all to his general and special damages

19   in a sum according to proof at the time of trial, and that Plaintiff has incurred incidental and

20   extreme financial damages.

21                                   FOURTH CAUSE OF ACTION

22                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

23                              (Against all Defendants and DOES 21 – 40)

24          50.      Plaintiff repeats and incorporates by reference into this cause of action the

25   allegations set forth above at Paragraphs l – 49, inclusive.

26          51.      At all times herein mentioned, Defendants, and each of them, owed a duty to

27   Plaintiff and other participants of The Race to make the course reasonably safe for participants

28   of The Race, to warn of any dangers posed by the course, and to prohibit any activity that would
     COMPLAINT FOR DAMAGES                                                              PAGE 11 OF 13
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 1   pose a danger to participants of The Race.

 2          52.      The acts and omissions of Defendants, and each of them, herein alleged, were

 3   done negligently, and Defendants, and each of them, knew, or should have known, that such

 4   actions and failure to act would injure and cause Plaintiff severe emotional distress.

 5          53.      As a direct and proximate result of the negligence, carelessness, and

 6   unlawfulness of Defendants, and each of them, actions and inactions as herein alleged, Plaintiff

 7   was severely injured and has suffered humiliation, mental anguish, and emotional and physical

 8   distress, and has been injured in mind, all to his damage. Furthermore, as a proximate result of

 9   the actions of Defendants, and each of them, Plaintiff has sustained severe damages in an

10   amount to be proven at the time of trial. Plaintiff is informed and believes and based upon such

11   information and belief thereon alleges that Plaintiff will in the future suffer severe emotional

12   distress, all to his general damage in a sum according to proof at the time of trial.

13          PRAYER FOR RELIEF

14          54.      WHEREFORE, Plaintiff requests judgment against Defendants, and each of

15   them, for the following:

16
                        1. For all non economic or general damages according to proof;
17
                        2. For all economic or special damages, including loss of past and future
18
                            earning capacity according to proof;
19
                        3. For all medical and incidental expenses according to proof;
20
                        4. Punitive Damages according to proof as to the Second Cause of Action;
21
                        5. For interest on pecuniary losses / awards whose amounts are certain from
22
                            the date of the occurrence of such losses as allowed by law;
23
                        6. Costs of suit; and
24
                        7. Any other and further relief that the court considers proper.
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28
     COMPLAINT FOR DAMAGES                                                              PAGE 12 OF 13
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 1                                    DEMAND FOR JURY TRIAL

 2
            55.      Pursuant to the Seventh Amendment to the Constitution of the United States of
 3
     America, Plaintiff is entitled to, and demands, a trial by jury.
 4

 5   Dated: November 7, 2019                                  CASE BARNETT LAW
 6

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                                                            _______________________
 9                                                           GERALDINE WEISS, ESQ.
                                                             ATTORNEY FOR PLAINTIFF
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     COMPLAINT FOR DAMAGES                                                          PAGE 13 OF 13
